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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 Walters v. City of Flint et al.,                    No. 5:17-cv-10164

                                                     Hon. Judith E. Levy

                                               Mag. Elizabeth A. Stafford
                   ________________________________________


  BELLWETHER PLAINTIFFS’ REPLY BRIEF IN FURTHER SUPPORT
     OF THEIR MOTION IN LIMINE TO PRECLUDE EVIDENCE,
    TESTIMONY, OR ARGUMENT ABOUT ALTERNATIVE LEAD
      EXPOSURES NOT SUPPORTED BY EXPERT TESTIMONY

                                    INTRODUCTION

        VNA does not oppose the main point of Plaintiffs’ Motion In Limine—which

 is that evidence, testimony, or argument of alternative lead exposures must be

 supported by expert testimony to be admissible. Instead, VNA resorts to

 mischaracterizing Plaintiffs’ Motion, attempting to recast it as a motion to preclude

 its experts from testifying. VNA Opposition (ECF No. 527), at 2–3.1 A plain reading


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               Evidently believing that mud on the wall is better than nothing at all,
 VNA deliberately conflates two of Plaintiffs’ Motions—this Motion to exclude
 evidence, testimony, or argument of alternative lead exposures that are not supported
 by expert testimony (see ECF No. 513), as well as Plaintiffs’ Motion In Limine to
 Preclude Evidence, Testimony, or Argument About Alternative Causes Not
 Supported by Expert Testimony (see ECF No. 508). See VNA Opposition (ECF No.
 527), at 1. However, they are separate motions that deal with separate (though
 similar) issues, and Plaintiffs will continue to treat them separately.
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 of Plaintiffs’ Motion shows that it is testimony, evidence, or argument of alternative

 exposures to lead that are unmoored from expert opinions, which were the target of

 the Motion.

       To be sure, as Plaintiffs pointed out initially, VNA’s experts cannot support

 alternative lead exposure testimony, evidence, or arguments. Indeed, neither Dr.

 Brent Finley nor Dr. Douglas Weed offers testimony that Plaintiffs were lead-

 poisoned by alternative lead exposures. Dr. Weed is epidemiologist who offers only

 general causation opinions and does not render any specific opinion at all about

 Plaintiffs’ lead poisoning. And Dr. Finley at best identifies lead somewhere in the

 environment in Plaintiffs’ vague proximity. He makes no effort whatsoever to show

 that any Plaintiff was actually exposed to these lead sources. What’s more, VNA has

 not pointed to any other expert witness that it claims can support this kind of

 testimony, evidence, or argument.

       Finally, VNA relies heavily on the general burden of proof at trial to support

 its claims that it may be permissible to offer this speculative and unfairly prejudicial

 evidence. Yet, VNA points to no authority that permits reducing the evidentiary

 standards for a civil defendant merely because Plaintiffs bear the burden of proof at

 trial. On the contrary, substantive Michigan law imposes a burden on VNA to prove

 any amount of damages caused by some source other than its negligence if it wants




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 the jury to apportion some measure of fault or damages to an alternative cause. See

 Maddux v. Donaldson, 362 Mich. 425, 433–36 (1961).

       Accordingly, the Court should grant this Motion In Limine.

                                   ARGUMENT

 I.    VNA mischaracterizes Plaintiffs’ Motion In Limine.

       Preliminarily, Plaintiffs note that as VNA has done elsewhere,2 VNA

 mischaracterizes Plaintiffs’ Motion In Limine. To hear VNA tell it, Plaintiffs are

 “seek[ing] to preclude VNA’s epidemiology and toxicology experts, Dr. Brent L.

 Finley and Dr. Douglas L. Weed, from offering testimony about alternative sources

 of lead that may have caused Plaintiffs’ alleged conditions.” VNA Opposition (ECF

 No. 527), at 2–3.

       This is a flat mischaracterization of Plaintiffs’ Motion. As Plaintiffs

 repeatedly stressed, the Court should “preclude Defendants from offering evidence

 or testimony speculating as to potential alternative sources of lead exposure where

 those potential exposures are not supported by valid expert testimony.” See, e.g.,

 Plaintiffs’ Motion In Limine to Preclude Evidence, Testimony, or Argument About




       2
             See VNA’s Opposition to Plaintiffs’ Motion to Preclude Evidence,
 Testimony, or Argument About the Health, Intelligence, I.Q., or Scholastic or
 Educational Achievement of Plaintiffs’ Siblings or Other Family Members (ECF
 No. 534).

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 Alternative Lead Exposures Not Supported by Expert Testimony (ECF No. 513), at

 14 (emphasis added).

       By focusing exclusively on potential expert testimony that it may elicit (either

 on direct or by cross-examining Plaintiffs’ experts), VNA does not attempt to meet

 Plaintiffs’ Motion head-on; it does not contest the core premise that evidence of

 alternative sources of potential lead exposure—when not supported by expert

 testimony—is speculative, irrelevant, and unduly prejudicial.

       So, for example, VNA argues that such evidence may be relevant to causation.

 VNA Opposition (ECF No. 527), at 5–11. What VNA apparently overlooks,

 however, is that the causative effect of exposure to toxins like lead is outside the

 ordinary ken of laypersons on the jury. Powell-Murphy v. Revitalizing Auto Cmtys.

 Envtl. Response Trust, 333 Mich. App. 234, 251 (2020). As such, absent proper

 expert testimony, it would be highly speculative and, therefore, unduly prejudicial

 to permit the jury to hear such evidence.

 II.   VNA’s experts’ generalized musing does not support speculative
       arguments by VNA’s counsel.

       Of course, Plaintiffs did identify serious defects with VNA’s expert proofs on

 this subject. VNA’s efforts to dispute those defects are not successful and actually

 confirm why this evidence should not be allowed.

       VNA’s arguments as to Weed provide a good example. He is an

 epidemiologist who will offer only general causation opinions at trial; and in his


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 deposition he conceded that he does not offer any specific opinions about the

 individual exposure of any Plaintiff. See Ex. 1, Weed Report (ECF No. 513-2), at

 11–13; Ex. 2, Weed Dep. (ECF No. 513-3), at 27:18–28:12. VNA’s efforts to

 bootstrap an exposure opinion to a note regarding blood–lead levels in Appendix F

 of Weed’s Report actually highlights the speculative nature of VNA’s approach:

 There was a previous blood–lead level, and so VNA thinks any potential lead source

 must be fair game.

       In this vein, while VNA claims that Weed and Finley together “explained in

 their reports that the different sources of lead . . . are ubiquitous and unavoidable.”

 VNA Opposition (ECF No. 527), at 12. But consider VNA’s citation to pages 66

 and 67 of Finley’s Report: There Finley actually says “[a]mbient exposures to lead

 pose no risk of illness.” Ex. 3 Finley Report (ECF No. 513-4), at 66–67. This is the

 very point Plaintiffs were making initially: VNA wants to point “ubiquitous and

 ambient” exposures, when in reality its own experts affirmatively disclaim that those

 exposures are harmful.

       The same is true of the purported lead in Plaintiffs’ soil. While VNA claims

 that lead was found in the soil, the inspection report explicitly note that there are “no

 soil-lead hazards” because the infinitesimal lead concentrations in the soil were

 below relevant thresholds. See, e.g., Ex. 7, D.W. Home Inspection Report (ECF No.

 513-8), at iv. VNA responds that “whether lead was found in the soil . . . around



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 Plaintiffs’ homes is relevant to causation, even if the levels of lead in those sources

 were not high enough to constitute ‘hazards.’” VNA Opposition (ECF No. 527), at

 13–14.

       To return to Finley, though, there are two important points. The first is that

 Finley’s Report says “[e]xposures to lead levels below regulatory limits pose no risk

 of illness.” Ex. 3, Finley Report (ECF No. 513-4), at 67. The second point is that—

 as Plaintiffs pointed out before—Finley opines that Plaintiffs are not lead poisoned

 at all and their blood–lead levels are merely “consistent with normal dietary lead

 intake, some exposure to lead dust in the home, and exposure to lead in soil in his

 front and back yards.” See, e.g., id. at 40 (E.S.); see also id. at 49 (A.T.), 56 (R.V.),

 65 (D.W.). Even taking VNA’s argument about a lower threshold for defense

 causation theories at face value (more on that in a moment), to say that something is

 “consistent” with something else is not to render a causal opinion at all (whether

 thought of as “more likely than not” or simply a mere “possibility”, cf. Allen v.

 Brown Clinic, P.L.L.P., 531 F.3d 568, 574 (8th Cir. 2008) (cited in VNA Opposition

 (ECF No. 527), at 7)).

       In other words, Finley disagrees with VNA’s argument; and so VNA’s

 argument is not—as Plaintiffs have shown—supported by expert testimony.




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 III.   Plaintiffs’ general burden of proof does not permit VNA to present
        otherwise inadmissible evidence to the jury.

        Finally, VNA seems to imagine that the mere fact that Plaintiffs have the

 general burden of proof relaxes the standards of admissibility for it. See, e.g., VNA

 Opposition (ECF No. 527), at 1. To be sure, the burden of proof cannot permit VNA

 to offer otherwise inadmissible evidence. After all, Michigan law shifts the burden

 to a defendant to prove that an alternative cause is responsible for Plaintiffs’ injuries

 and damages. See Maddux, 362 Mich. at 433–36. Suffice to say, a defendant must

 do so with admissible evidence, and there is no indication that the standards for

 admissibility are relaxed for such a defendant.

        Further, VNA’s cases from other jurisdictions do not negate this point of

 substantive law. The right to present evidence of alternative causes may be important

 to mounting an “adequate defense,” see Aycock v. R.J. Reynolds Tobacco Co., 769,

 F.3d 1063, 1070 (11th Cir. 2014) (applying Florida law), but “[n]onetheless,

 alternate cause theories must be rooted in at least some reliable evidence.” Sowers

 v. R.J. Reynolds Tobacco Co., 3:09 C 11829, 2015 U.S. Dist. LEXIS 192209, at *24

 (M.D. Fla. Jan. 23, 2015). Thus, despite the allegedly lower threshold for defendants

 in the Eleventh Circuit, the Sowers held that where, inter alia, “no expert” supports

 an alternative cause theory, that theory “would be entirely speculative, and [any]

 related evidence is irrelevant.” Id. at *25.




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                                 CONCLUSION

       Accordingly, Plaintiffs respectfully request that the Court grant this Motion

 In Limine.

 Dated: January 11, 2022

                                             Respectfully submitted,

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                          CERTIFICATE OF SERVICE

       I, Renner K. Walker, hereby certify that on January 11, 2022, the foregoing

 brief was served on all counsel of record via the Court’s ECF filing system.

                                              /s/ Renner K. Walker
                                              Renner K. Walker




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